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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY                      2016 UL 25 An 9: 22
                                  AT BOWLING GREEN

UNITED STATES OF AMERICA                                                                PLAINTIFF


V.                                                              CRIMINAL NO. 1:15-CR-22-GNS


GARY HANK THOMPSON                                                                   DEFENDANT


                                      PLEA AGREEMENT

       Pursuant to Rule 11(c)(l)(C) of the Federal Rules of Criminal Procedure, the United

States of America, by John E. Kuhn, Jr., United States Attorney for the Western District of

Kentucky, and defendant, Gary Hank Thompson, and his attorney, Laura Wyrosdick, have

agreed upon the following:

       1.      Defendant acknowledges that he has. been charged in the Indictment in this case

with violations of Title 18, United States Code, Section 641, and Title 42, United States Code,

Section 1383a(2) and 1383a(3)(A). Defendant further acknowledges that the Indictment in this

case seeks forfeiture of any prope1iy, real or personal, which constitutes or is derived, directly or

indirectly, from gross proceeds traceable to a violation of Title 18, United States Code, Section

641 , pursuant to Title 18, United States Code, Section 981(a)(l)(C), and Title 28, United States

Code, Section 2461, by reason of the offense charged in Count 3 of the Indictment.

       2.      Defendant has read the charges against him contained in the Indictment, and those

charges have been fully explained to him by his attorney. Defendant fully understands the nature

and elements of the crimes with which he has been charged.
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       3.      Defendant will enter a voluntary plea of guilty to Counts 1 to 3 in this case.

Defendant will plead guilty because he is in fact guilty of the charges. The parties agree to the

following factual basis for this plea:

       The conduct of Defendant, Gary Hank Thompson, described and specified below, took
       place in WaiTen County, Kentucky, in the Western District ofKentu<::,ky, and elsewhere.

       From in or around August 2009 through in or around April 2013 , as a result of the
       Defendant' s misrepresentations, the Defendant received Supplemental Security Income
       benefits from the Social Security Administration in the amount of $24,884, to which he
       was not entitled. Supplemental Security Income is a federal government program that
       provides benefits to individuals who are both ( 1) disabled and (2) have limited income
       and resources. In his initial application for Supplemental Security Income, Defendant
       also applied for Medicaid, and during the same period, obtained $81 ,831 .27 in Medicaid
       benefits.

       At various points, including during the initial field interview with Social Security
       Administration personnel in August 2009, and during the April 15, 2013 , redetermination
       meeting with Social Security Administration personnel in WaiTen County, Kentucky,
       defendant Gary Hank Thompson falsely represented his mental condition by slowing his
       speech and stuttering, and generally saying and doing things to make it seem that he had
       issues with comprehension, when he did not. Defendant misrepresented his mental
       condition in this way to qualify for benefits and to continue qualifying for Supplemental
       Security Income benefits. Defendant's misrepresentations of his mental condition were
       material to whether he would receive Supplemental Security Income benefits, as he
       initially qualified under "organic mental disorders."        When the Social Security
       Administration was provided with accurate information concerning the Defendant's
       mental condition, it reevaluated whether he qualified for Supplemental Security Income
       and determined he did not.

       Additionally, the Defendant made material omissions and misstatements regarding his
       income and resources, which affected his eligibility for Supplemental Security Income
       benefits. Between August 2009 and April 2013, the Defendant made multiple statements
       to the Social Security Administration that he had no gifts, income, or resources. This was
       not in fact true, as the Defendant later admitted he failed to report amounts of up to $40 a
       day that he made panhandling, which would have affected his eligibility for
       Supplemental Security Income benefits.

       4.      Defendant understands that the charges to which he will plead guilty caiTy a

combined maximum term of imprisonment of20 years, a combined Il!aximum fine of$750,000,

and a three year term of supervised release. Defendant understands that an additional term of



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imprisonment may be ordered if the terms of the supervised release are violated, as explained in

18 U.S.C. § 3583. Defendant understands that as a result ofthe charges to which he will plead

guilty he may be ordered to forfeit any property, real or personal, whichconstitutes or is derived,

directly or indirectly, from gross proceeds traceable to a violation of Title 18, United States

Code, Section 641, pursuant to Title 18, United States Code, Section 981(a)(l)(C), and Title 28,

United States Code, Section 2461 , by reason of the offense charged in Count 3 ofthe Indictment.

       5.      Defendant understands that if a term of imprisonment of more than one year is

imposed, the Sentencing Guidelines require a term of supervised release and that he will then be

subject to certain conditions of release. §§5D1.1 , 5D1.2, 5D1.3 .

       6.      Defendant understands that by pleading guilty, he surrenders certain rights set

forth below. Defendant's attorney has explained those rights to him and the consequences of his

waiver of those rights, including the following:

               A.      If defendant persists in a plea of not guilty to the charges against

       him, he has the right to a public and speedy trial. The trial could either be a jury

       trial or a trial by the judge sitting without a jury. Ifthere is a jury trial, the jury

       would have to agree unanimously before it could return a verdict of either guilty

        or not guilty. The jury would be instructed that defendant is presumed innocent

        and that it could not convict him unless, after hearing all the evidence, it was

       persuaded of defendant's guilt beyond a reasonable doubt.

               B.      At a trial, whether by a jury or a judge, the United States would be

       required to present its witnesses and other evidence against defendant. Defendant

       would be able to confront those government witnesses and his attorney would be

        able to cross-examine them. In tum, defendant could present witnesses and other



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        evidence in his own behalf. If the witnesses for defendant would not appear

        voluntarily, he could require their attendance through the subpoena power of the

        Court.

                 C.     A~   a trial, defendant would have a privilege against self-

        incrimination and he could decline to testify, without any inference of guilt being

        drawn from his refusal to testify. If defendant desired to do so, he could testify in

        his own behalf.

        7.       Defendant understands that the United States Attorney's Office has an obligation

to fully apprise the District Court and the United States Probation Office of all facts pertinent to

the sentencing process, and to respond to all legal or factual inquiries that might arise either

before, during, or after sentencing. Defendant admits all acts and essential elements of the

indictment counts to which he pleads guilty.

        8.       Defendant agrees that the amount of restitution ordered by the Court shall include

Defendant's total offense conduct, and is not limited to the counts of conviction. The parties

agree and stipulate that Defendant shall pay restitution in the amount of$106,716.07. The

parties agree that the restitution shall be ordered due and payable on the date of sentencing.

Defendant agrees that any payment schedule imposed by the Court is without prejudice to the

United States to take all actions available to it to collect the full amount of the restitution at any

time. Restitution payments shall be made payable to the U.S. District Court Clerk at Gene

Snyder Courthouse, 601 W. Broadway, Louisville, KY 40202. The restitution shall be paid to or

on behalf of the following victim(s):

        Victim                                                  Amount

        Social Security Administration                          $24,884.80



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       Kentucky Department for Medicaid Services                $81,831.27

       Defendant agrees that not later than 45 days from entry of the Plea Agreement, Defendant

shall provide to the United States, under penalty of perjury, a financial disclosure form listing all

Defendant's assets/financial interests. Defendant authorizes the United States to run credit

bureau reports prior to sentencing, and Defendant will sign releases authorizing the United States

to obtain Defendant's financial records. Defendant understands that these assets and financial

interests include all assets and financial interests in which Defendant has an interest, direct or

indirect, whether held in Defendant's own name or in the name of another, in any property, real

or personal. Defendant shall also identify all assets valued at more than $5 ,000 which have been

transferred to third parties since the date of the first offense, including the location of the assets

and the identity of the third parties. Defendant agrees that the United States may share the

contents of the reports and financial disclosures with the Court and U.S. Probation.

        Defendant agrees to submit to a deposition in aid of collection at times and places that the

United States directs. If the Defendant has a financial advisor or accountant, Defendant agrees,

at his expense, to make them available to aid the United States in determining Defendant's net

worth. Defendant authorizes the United States to file notice of Lis Pendens prior to judgment on

any real propetiy Defendant owns either individually or jointly. Defendant agrees to his name

and debt. being added to the Treasury Offset Program.

        Upon execution of the Plea Agreement, Defendant agrees not to transfer, sell, or secrete

any of Defendant's property, real or personal, held jointly, individually or by nominee/third

party, valued at $5 ,000 or more without first advising the United States not less than 10 days

before the proposed sale or transfer. Defendant agrees that failure to comply with any of the

provisions of this Agreement constitutes a material breach of the Plea Agreement and Defendant



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agrees that the United States is relieved of its obligations under this Agreement and/or may not

move the Court pursuant to U.S.S.G. § 3El.l(b) to reduce the offense level by one additional

level, and may in its discretion argue to the Court that the Defendant should not receive a two-

level reduction for acceptance ofresponsibility pursuant to U.S.S.G. § 3El.l(a). However, the

Defendant may not withdraw his guilty plea because of his breach.

       9.      Defendant acknowledges liability for the special assessment mandated by 18

U.S.C. § 3013 and will pay the assessment in the amount of$300 to the United States District

Court Clerk's Office by the date of sentencing.

       10.     At the time of sentencing, the United States will

               -agree that a sentence of 42 months is the appropriate disposition
               of this case.

               -agree that a reduction of 2 levels below the otherwise applicable
               Guideline for "acceptance of responsibility" as provided by
               §3E 1.1 (a) is appropriate, provided the defendant does not engage
               in future conduct which violates any federal or state law, violates a
               condition of bond, constitutes obstruction of justice, or otherwise
               demonstrates a lack of acceptance of responsibility. Should such
               conduct occur and the United States, therefore, opposes the
               reduction for acceptance, this plea agreement remains binding and
               the defendant will not be allowed to withdraw his plea.

       11.     Both pmiies have independently reviewed the Sentencing Guidelines applicable in

this case, and in their best judgment and belief, conclude as follows:

               A.      The Applicable Offense Level should be determined as follows:

                       2B 1.1 (a)(2)       Base Offense Level                          6
                       2Bl.l(b)(l)(E)      LossMorethan$95,000                         +8
                       Adjusted Offense Level                                          14
                       3E1.1(a)            Acceptance and Timeliness                   -2
                       Total Offense Level                                             12

               B.      The Criminal History of defendant shall be determined upon

       completion ofthe presentence investigation, pursuant to Fed. R. Crim. P. 32(c).


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       Both parties reserve the right to object to the USSG §4A1.1 calculation of

       defendant's criminal history.

               C.      Both parties reserve the right to argue as to whether the agreed-

       upon sentence should run concurrently or consecutively to any undischarged state

       te1m of imprisonment pursuant to USSG § 5G 1.3.

       12.     Defendant is aware of his right to appeal his conviction and that 18 U.S. C. § 3742

affords a defendant the right to appeal the sentence imposed. Unless based on claims of

ineffective assistance of counsel or prosecutorial misconduct, the Defendant knowingly and

voluntarily waives the right (a) to directly appeal his conviction and the resulting sentence

pursuant to Fed. R. App. P. 4(b) and 18 U.S.C. § 3742, and (b) to contest or collaterally attack

his conviction and the resulting sentence under 28 U.S.C. § 2255 or otherwise.

       13.     Defendant understands and agrees that by entering into this Plea Agreement, he

becomes subject to 12 U.S. C. § 1829 which precludes him from pmiicipating, directly or .

indirectly, in the conduct of the affairs of any insured depository institUtion without the prior

written consent of the Federal Deposit Insurance Corporation or other federal financial institution

regulatory agency.

        14.    Defendant waives and agrees to waive any rights under the Speedy Trial Act and

understands and agrees that sentencing may be delayed. The reason for such waiver is so that at

sentencing the Comi will have the benefit of all relevant information.

       15.     Defendant agrees not to pursue or initiate any civil claims or suits against the

United States of America, its agencies or employees, whether or not presently known to

defendant, arising out of the investigation or prosecution of the offenses covered by this

Agreement.



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        16.     The defendant hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of this case, including without limitation

any records that may be sought under the Freedom oflnformation Act, 5 U.S.C. § 552, or the

Privacy Act of 1974, 5 U.S.C. § 552a.

        17.     Defendant agrees to interpose no objection to the United States transferring

evidence or providing information concerning defendant and this offense, to other state and

federal agencies or other organizations, including, but not limited to the Internal Revenue

Service, other law enforcement agencies, and any licensing and regulatory bodies, or to the entry

of an order under Fed. R. Crim. P. 6(e) authorizing transfer to the Examination Division of the

Internal Revenue Service of defendant's documents, or documents of third persons, in possession

of the Grand Jury, the United States Attorney, or the Criminal Investigation Division of the

Internal Revenue Service. Defendant further agrees to the entry of an order under Fed. R. Crim.

P. 6(e) authorizing the use of documents in possession of the Grand Jury to be used during the

defendant's deposition as contemplated in paragraph 8 of this Agreement.

        18.     If the Court refuses to accept this agreement and impose sentence in accordance

with its terms pursuant to Fed. R. Crim. P. ll(c)(l)(C), this Agreement will become null and

void and neither party shall be bound thereto, and defendant will be allowed to withdraw the plea

of guilty.

        19.     Defendant agrees that the disposition provided for within this Agreement is fair,

taking into account all aggravating and mitigating factors . Defendant states that he has informed

the United States Attorney's Office and the Probation Officer, either directly or through his

attorney, of all mitigating factors.



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       20.     This document and the supplemental plea agreement state the complete and only

Plea Agreements between the United States Attorney for the Western District of Kentucky and

defendant in this case, and are binding only on the parties to this Agreement, supersedes all prior

understandings, if any, whether written or oral, and cannot be modified other than in writing that

are signed by all parties or on the record in Court. No other promises or inducements have been




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or will be made to defendant in connection with this case, nor have any predictions or threats

been made in connection with this plea.

AGREED:

JOHN E. KUHN, JR.
United States Attorney

By:

                                     -
                                                                     /-2 r;-lb
Amanda E. Gregory                                                   Date
Assistant United States Attorney


        I have read this Agreement and carefully reviewed every part of it with my attorney. I
fully understand it and I voluntarily agree to it.



                                                                    Date



        I am the defendant's counsel. I have carefully reviewed every part of this Agreement
with the defendant. To my knowledge my client's decision to enter into this Agreement is an
informed and v61untary one.                                        L       ! d.~     ~   ) (y
Laura Wyrosdick                                                     Date
Counsel for Defenda

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